                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 WESTERN DIVISION

PATRICK PURSLEY,                                )
                                                )         Case No. 3:18-CV-50040
               Plaintiff,                       )
                                                )         Judge: Hon. Philip G. Reinhard
v.                                              )
                                                )         Magistrate Judge: Hon. Lisa A. Jensen
CITY OF ROCKFORD, JAMES BARTON, JIM )
BOWMAN, RON GALLARDO, JOHN                      )
GENENS, CHARLENE GETTY, JEFF                    )
HOUDE, CHRISTINE BISHOP, SAM                    )
POBJECKY, MARK SCHMIDT, BRUCE                   )
SCOTT, DOUG WILLIAMS, GREG HANSON, )
STEPHEN PIRAGES, City Administrator for         )
the City of Rockford, as Special Representative )
for the ESTATE OF HOWARD FORRESTER,             )
ESTATE OF GARY REFFETT, and ESTATE              )
OF DAVID EKEDAHL, UNIDENTIFIED                  )
EMPLOYEES OF THE ROCKFORD POLICE                )
DEPARTMENT, DANIEL GUNNELL, PETER )
STRIUPAITIS, JACK WELTY, and                    )
UNIDENTIFIED EMPLOYEES OF THE                   )
ILLINOIS STATE POLICE CRIME LAB,                )

               Defendants.

   DEFENDANT GREG HANSON’S ANSWER AND AFFIRMATIVE DEFENSES TO
                   SECOND AMENDED COMPLAINT

       NOW COMES Defendant, GREG HANSON, by and through his attorney, Michael F.

Iasparro of Hinshaw & Culbertson LLP, and for his Answer to Second Amended Complaint,

states as follows:

                                      INTRODUCTION

       1.      Plaintiff Patrick Pursley was wrongfully convicted of the murder of Andrew

Ascher, a crime he did not commit. Arrested in the prime of his life, Plaintiff spent twenty-three

years in prison before he was ultimately exonerated.

       ANSWER: Defendant Hanson denies that Plaintiff Patrick Pursley was wrongfully
convicted of the murder of Andrew Ascher. Defendant Hanson has insufficient knowledge as to
whether Plaintiff was arrested in the prime of his life. Defendant Hanson admits Plaintiff spent



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twenty-three years in prison. Defendant Hanson has insufficient knowledge to either admit or
deny whether Plaintiff was ultimately exonerated.

       2.      The evidence used to secure Plaintiff’s conviction was fabricated by Defendant

officers of the Rockford City Police Department (“RCPD”) and forensic scientists from the

Illinois State Police (“ISP”) crime lab. There was no credible evidence connecting Plaintiff to

the crime scene or the murder weapon.

     ANSWER: Defendant Hanson denies the allegations in paragraph 2 of the Second
Amended Complaint.

       3.      Defendants concealed their fabrication of evidence from Plaintiff along with other

exculpatory and impeachment evidence.

     ANSWER: Defendant Hanson denies the allegations in paragraph 3 of the Second
Amended Complaint.

       4.      At all times during the more than two decades since he was convicted and

sentenced to natural life in prison, Plaintiff steadfastly maintained his innocence. For more than

ten years, Plaintiff fought to conduct ballistics testing on the alleged murder weapon. In 2011

and 2012, ballistics testing finally confirmed that Plaintiff did not commit the crime. Plaintiff’s

conviction was overturned on March 3, 2017, and on January 15, 2019, Plaintiff was acquitted

following a new trial.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in the first and second sentences of paragraph 4 of the Second Amended Complaint.
Defendant Hanson denies that in 2011 and 2012, ballistics testing finally confirmed that Plaintiff
did not commit the murder of Andrew Ascher. Defendant Hanson admits that Plaintiff's
conviction was overturned on March 3, 2017, and that on January 15, 2019, Plaintiff was
acquitted following a new trial.

       5.      Defendants’ misconduct deprived Plaintiff of innumerable life experiences and

opportunities, including the chance to watch his young children grow up. He now seeks justice

for the harm Defendants caused and redress for the loss of liberty and terrible hardship he

endured and continues to suffer because of Defendants.

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      ANSWER: Defendant Hanson denies any of the misconduct alleged in the Second
Amended Complaint, or that any harm or damages Plaintiff alleges in the Second Amended
Complaint were caused by him or any of the other Defendants.

                                 JURISDICTION AND VENUE

        6.      This action is brought pursuant to 42 U.S.C. § 1983 and Illinois law to redress the

Defendants’ tortious conduct and their deprivation of Plaintiff’s rights secured by the U.S.

Constitution.

        ANSWER: Defendant Hanson admits this action is brought pursuant to 42 U.S.C. §
1983 and Illinois law, but denies the Defendants engaged in any tortious conduct or deprived
Plaintiff of any rights secured by the U.S. Constitution.

        7.      This Court has jurisdiction over the action pursuant to 28 U.S.C. §§ 1331 and

1367.

        ANSWER:        Defendant Hanson admits this Court has jurisdiction over this action.

        8.      Venue is proper under 28 U.S.C. § 1394(B). A substantial part of the events

giving rise to Plaintiff’s claims occurred within this judicial district, as Plaintiff’s criminal case

was investigated, tried, and appealed in Winnebago County, Illinois.

        ANSWER:        Defendant Hanson admits that venue is proper in this Court.

                                             PARTIES

        9.      Plaintiff Patrick Pursley is a 53-year-old resident of Champaign, Illinois. He

spent more than twenty-three years wrongly imprisoned for a murder he did not commit.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in the first sentence of paragraph 9 of the Second Amended Complaint. Defendant
Hanson denies the allegations in the second sentence of paragraph 9 of the Second Amended
Complaint.

        10.     At all relevant times, Defendants James Barton, Jim Bowman, Ron Gallardo, John

Genens, Charlene Getty, Jeffrey Houde, Christine Bishop (née McAnally), Sam Pobjecky, Mark




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Schmidt, Bruce Scott, Doug Williams, Greg Hanson, Stephen Pirages, and Unidentified

Employees of the RCPD were police officers with, or otherwise employed by, the RCPD.

        ANSWER: Defendant Hanson admits that each of the identified Defendants was
employed by the RCPD at the time of Andrew Ascher's murder. Defendant Hanson denies that
the RCPD's investigation of the Ascher murder resulted in Plaintiff's wrongful conviction, or that
Plaintiff was wrongfully convicted.

       11.     The City Administrator for the City of Rockford is named as a defendant in his

capacity as Special Representative of the Estates of Howard Forrester, Gary Reffett, and David

Ekedahl to defend those parties in this action. Forrester, Reffett and Ekedahl were police

officers with, or otherwise employed by, the RCPD. They are now deceased.

     ANSWER: Defendant Hanson admits the allegations in paragraph 11 of the Second
Amended Complaint.

       12.     Each defendant officer (hereinafter, with the Estate of Howard Forrester, the

Estate of Gary Reffett, and the Estate of David Ekedahl, the “Defendant Officers”) participate in

the Ascher murder investigation, which resulting in Plaintiff’s wrongful conviction.

        ANSWER: Defendant Hanson has insufficient knowledge as to the extend of each
Defendant Officer’s participation in the Ascher murder investigation, but denies that it resulted
in Plaintiff’s wrongful conviction.

       13.     Each of the Defendant Officers is sued in his or her individual capacity. At all

times relevant to this case, the Defendant Officers acted under color of law and within the scope

of their employment.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 13 of the Second Amended Complaint.

       14.     Defendant City of Rockford is an Illinois municipal corporation that is or was the

employer of the Defendant Officers and operates the RCPD.

     ANSWER: Defendant Hanson admits the allegations in paragraph 14 of the Second
Amended Complaint.




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       15.     Defendants Daniel Gunnell, Peter Striupaitis, Jack Welty, and Unidentified

Employees of the ISP crime lab were, at all relevant times, employed as forensic scientists by the

ISP. These forensic scientists (hereinafter, the “Defendant Forensic Scientists”) participated in

the Ascher murder investigation, which resulted in Plaintiff’s wrongful conviction.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in the first sentence of paragraph 15 of the Second Amended Complaint. Defendant
Hanson denies that Plaintiff was wrongfully convicted of the Ascher murder.

       16.     Each Defendant Forensic Scientist is sued in his or her individual capacity. At all

times relevant to this case, the Defendant Forensic Scientists acted under color of law and within

the scope of their employment.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 16 of the Second Amended Complaint.

                                            FACTS

                                           The Crime

       17.     On April 2, 1993, at approximately 10 p.m., twenty-two-year-old Andrew Ascher

was shot and killed while sitting in the driver’s seat of his Ford Explorer. Ascher’s girlfriend,

twenty-five-year-old Rebecca George, was sitting next to him in the front passenger seat.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 17 of the Second Amended Complaint.

       18.     Ascher and George were parked in a residential parking area in front of George’s

brother’s condominium at 2709 Silent Wood Trail in Rockford, Illinois, having a conversation

before going into the home. The driver’s side door was cracked open.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 18 of the Second Amended Complaint.




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       19.     After Ascher and George had been parked for about ten minutes, a man

approached the driver’s side of the car and pulled the door wider open. The man pointed a gun at

the couple, and demanded their wallets.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 19 of the Second Amended Complaint.

       20.     George removed cash from her purse and offered it to the assailant, but he did not

take the money. George began looking in her purse for something else to offer the man.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 20 of the Second Amended Complaint.

       21.     At the time, Ascher was reaching for his wallet. The assailant suddenly fired the

gun, striking Ascher twice in the head. The assailant then ran away from the car.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 21 of the Second Amended Complaint.

       22.     George ran to her brother’s apartment to call the police.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 22 of the Second Amended Complaint.

       23.     A neighbor of George’s brother, sixteen-year-old David Bodell, heard the

gunshots and a woman’s scream. Bodell went outside and saw the man crouched by a dumpster

in the parking area where Ascher’s Explorer was parked.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 23 of the Second Amended Complaint.

       24.     Bodell saw the man run from the scene as he heard sirens from the approaching

police cars.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 24 of the Second Amended Complaint.

       25.     Defendant Officers including Schmidt, Forrester, Genens, Houde, Williams,

Barton, and Reffett reported to the crime scene, but found no suspects in the area.


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        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 25 of the Second Amended Complaint.

       26.     Andrew Ascher was transported to a hospital where he died from the gunshot

wounds.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 26 of the Second Amended Complaint.

       27.     Investigators from the RCPD located footprints in the snow near the dumpster

where Bodell saw the crouching man.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 27 of the Second Amended Complaint.

       28.     To this day, the crime remains unsolved. By fabricating evidence to convict the

wrong person, Defendants have permitted the real killer to remain at large.

     ANSWER: Defendant Hanson denies the allegations of paragraph 28 of the Second
Amended Complaint.

                                            Patrick Pursley

       29.     In April 1993, Plaintiff was a twenty-seven-year-old resident of the City of

Rockford, and lived with his girlfriend, twenty-four-year-old Samantha Crabtree. He had a ten-

year-old son and a four-year-old daughter. Plaintiff had a close relationship with his children

and was actively involved in their lives.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 29 of the Second Amended Complaint.

       30.     Plaintiff had no connection whatsoever to Andrew Ascher, nor did he have any

involvement in Ascher’s murder.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny
whether Plaintiff had any connection whatsoever to Andrew Ascher. Defendant Hanson denies
that Plaintiff did not have any involvement in Ascher's murder.




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        31.     On the night of April 2, 1993, Plaintiff was home with Crabtree, his son Anthony,

and Anthony’s young uncle, Aaron.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 31 of the Second Amended Complaint, including because there is no
time frame set forth in the allegation.

        32.     Numerous people corroborated Mr. Pursley’s alibi.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 32 of the Second Amended Complaint.

        33.     Myra Foster, Anthony’s grandmother, and Tracy Foster, Anthony’s mother, both

testified that Patrick picked up Anthony and Aaron from Myra’s home earlier that day.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 33 of the Second Amended Complaint.

        34.     Penny Bunnell, a friend of Myra Foster, also testified that Patrick had come to

pick up the boys from Myra’s home on April 2, 1993.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 34 of the Second Amended Complaint.

        35.     Additionally, Crabtree testified that she was with Plaintiff at home when the

murder took place.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 35 of the Second Amended Complaint.

              Defendants Have No Suspects Until They Offer A Financial Reward

        36.     The Defendant Officers participated in the Ascher murder investigation.

        ANSWER:        Defendant Hanson admits that he participated in the Ascher murder
investigation.

        37.     Two months after the murder, the pressure to solve the crime increasing, the

police put out a bulletin on Crime Stoppers offering a cash reward for information leading to the

arrest of a suspect.



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        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 37 of the Second Amended Complaint.

       38.     Attracted by the cash reward, on June 8, 1993, a man called Crime Stoppers and

made a false report. The man claimed he had visited Plaintiff the day after the murder, and that

Plaintiff had confessed to killing Ascher in the course of attempting to rob him.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 38 of the Second Amended Complaint.

       39.     Four days later, on June 12, the man called Crime Stoppers a second time,

identified himself as Marvin Windham, and gave the police a statement.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 39 of the Second Amended Complaint.

       40.     Windham received $2,650 as a reward for the information.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 40 of the Second Amended Complaint.

               Defendants Obtain a False Statement from Samantha Crabtree

       41.     Although there was no physical evidence or eyewitness connecting Plaintiff to the

case, after receiving the Crime Stoppers tip, the Defendant Officers set their sights on Plaintiff

and focused on building a case against him. Thereafter, the Defendant Officers did not pursue

leads against other individuals identified as possible suspects.

     ANSWER: Defendant Hanson denies the allegations in paragraph 41 of the Second
Amended Complaint.

       42.     On June 10, Defendants Schmidt, Forrester, Houde, and at least two other

Defendant Officers began following Plaintiff’s girlfriend, Samantha Crabtree, and pursued her

until she gave them a false statement against Plaintiff.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 42 of the Second Amended Complaint.




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       43.     In addition, the Defendant Officers took Crabtree to the apartment she shared with

Plaintiff. With Crabtree waiting in the car, Defendants Officers including Pirages, Ekedahl,

Hanson, and Scott searched her apartment. These Defendants reported recovering, among other

things, a 9-millimeter Taurus handgun, as well as articles of Plaintiff’s clothing and a pair of

black combat boots.

     ANSWER: Defendant Hanson admits the allegations in paragraph 43 of the Second
Amended Complaint.

       44.     Defendants then brought Crabtree to the police station for interrogation.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 44 of the Second Amended Complaint.

       45.     Over the course of several hours, Defendant Officers including Forrester and

Schmidt intimidated and coerced Crabtree, threatening to separate her from her children.

Feeding Crabtree details about Ascher’s murder that she did not previously know, Defendants

coerced Crabtree into fabricating a story implicating Plaintiff in the murder.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 45 of the Second Amended Complaint.

       46.     Defendants Forrester and Schmidt then brought Crabtree in the back of a police

car to the area where Ascher was killed. Defendants coerced Crabtree into fabricating a story

about driving Plaintiff to and from the scene of Ascher’s murder on the night he was killed.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 46 of the Second Amended Complaint.

       47.     Forrester and Schmidt later brought Crabtree to the identification unit at the police

station to meet Defendant Houde. There, the Defendant Officers coerced Crabtree into falsely

claiming that on the night of Ascher’s murder, Plaintiff wore the clothing and carried the 9-

millimeter Taurus handgun they said had been recovered from Plaintiff’s and her apartment.




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        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 47 of the Second Amended Complaint.

       48.     Thereafter, the Defendants typed a false statement for Crabtree implicating

Plaintiff in Ascher’s murder, and caused Crabtree to sign it.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 48 of the Second Amended Complaint.

       49.     All told, the Defendant Officers interrogated Crabtree for more than ten hours.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 49 of the Second Amended Complaint.

       50.     The Defendant Officers knew the statement they obtained from Crabtree was

false. Her false statement was used to initiate criminal charges against Plaintiff and secure his

indictment.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 50 of the Second Amended Complaint.

       51.     On August 6, 1993, Crabtree signed an affidavit recanting her statement. The

affidavit explained that she had been interrogated for more than 10 hours, and was pregnant,

tired, sick, and emotionally weak at the time. Crabtree explained that she adopted the detectives’

false story when she claimed Plaintiff was involved in Ascher’s murder because she was

intimidated and coerced.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 51 of the Second Amended Complaint.

                Defendants Fabricate Forensic Evidence to Implicate Plaintiff

       52.     Following Crabtree’s interrogation, the RCPD submitted the Taurus handgun to

the ISP crime lab for testing.

       ANSWER: Defendant Hanson admits that the Taurus 9-millimeter handgun recovered
from Pursley's apartment was submitted to the ISP crime lab for forensic testing.




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        53.      The Defendant Forensic Scientists compared bullets and cartridge casings fired

from the Taurus to bullets and casings located at the crime scene and on the victim. The tests did

not establish that the Taurus was the gun used to kill Andrew Ascher.

       ANSWER: Defendant Hanson admits that ISP Forensic Scientists compared bullets
and cartridge casings fired from the Taurus to bullets and casings located at the crime scene and
on the victim. Defendant Hanson denies that the tests did not establish that the Taurus was the
gun used to kill Andrew Ascher.

        54.      Nevertheless, the Defendant Forensic Scientists fabricated a report stating the

science showed with certainty that the Taurus was used in the murder.

     ANSWER: Defendant Hanson denies the allegations in paragraph 54 of the Second
Amended Complaint.

        55.      This fabricated evidence “conclusively” linking the gun supposedly seized form

Plaintiff’s apartment to the murder was the cornerstone of the prosecution’s case. Working in

concert with the Defendant Officers who had investigated the case, the Defendants fabricated

this key “link” between Plaintiff and the crime, and withheld evidence of this fabrication from

the prosecution and defense.

     ANSWER: Defendant Hanson denies the allegations in paragraph 55 of the Second
Amended Complaint.

              Defendants Use Fabricated Evidence to Charge And Prosecute Plaintiff

        56.      In fabricating the link between the Taurus and Ascher’s murder, Defendants

entered into evidence a gun they knew was not the murder weapon and falsely indicated that it

was the murder weapon.

     ANSWER: Defendant Hanson denies the allegations in paragraph 56 of the Second
Amended Complaint.

        57.      The Defendants never disclosed this shocking fabrication to either the prosecution

or to Plaintiff prior to his conviction.




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        ANSWER: Defendant Hanson denies the allegations in paragraph 57 of the Second
Amended Complaint, which is based on a false premise. There was no fabrication of evidence
with respect to Plaintiff's involvement in the Ascher murder, and thus no need to disclose any
such thing to either the prosecution or to Plaintiff prior to his conviction.

       58.     When they fabricated the case against Plaintiff, the Defendants Officers knew

Plaintiff did not commit the murder.

        ANSWER: Defendant Hanson denies the allegations in paragraph 58 of the Second
Amended Complaint, which is based on a false premise. There was no fabrication of evidence
with respect to Plaintiff's involvement in the Ascher murder. The evidence gathered during the
investigation was gathered legally, and supported criminal charges against Plaintiff for Ascher's
murder.

       59.     Indeed, Plaintiff did not match the description provided by David Bodell of the

man he saw flee the scene. Nor did the combat boots seized from Plaintiff’s apartment match the

footprint in the snow near the dumpster where Bodell saw a man crouching immediately after the

murder. In addition, the ISP crime lab found no blood on the clothing Defendants seized from

Plaintiff’s home. Nor did the sweatshirt Defendants seized—a pullover—match the description

George provided of her attacker’s zip-up sweatshirt.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 59 of the Second Amended Complaint.

       60.     One of the Defendant Officers spoke to the victim’s mother, Lois Ascher, after

Plaintiff’s arrest for her son’s death. Mrs. Ascher asked whether the police were sure Plaintiff

committed the crime, and the Defendant Officer responded: “Well we have somebody anyway.”

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 60 of the Second Amended Complaint.

                    Plaintiff’s Trial, Wrongful Conviction, And Imprisonment

       61.     In April 1994, the charges against Plaintiff were tried before a jury in Winnebago

County, Illinois.

     ANSWER: Defendant Hanson admits the allegations in paragraph 61 of the Second
Amended Complaint.

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        62.     The jury found Plaintiff guilty of first degree murder, and he was sentenced to

natural life without parole.

     ANSWER: Defendant Hanson admits the allegations in paragraph 62 of the Second
Amended Complaint.

        63.     For the next twenty-three years, Plaintiff was incarcerated in Illinois prisons.

     ANSWER: Defendant Hanson admits the allegations in paragraph 63 of the Second
Amended Complaint.

                                      Plaintiff’s Exoneration

        64.     Beginning with his first police interview on June 16, 1993, Plaintiff has

steadfastly maintained his innocence.         Plaintiff unsuccessfully appealed his conviction,

petitioned the Illinois Supreme Court for leave to appeal, filed a state post-conviction petition,

and appealed again. Thereafter, he filed a federal petition for a writ of habeas corpus. All were

unsuccessful.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 64 of the Second Amended Complaint.

        65.     Beginning in early 2000, Plaintiff began filing motions asking the trial court to

order ballistics testing on the casings and bullets found at the crime scene and on the victim, and

the Taurus handgun entered in evidence at trial. Though Plaintiff’s motions were all denied, in

January 2011, the Illinois Appellate Court reversed the trial court’s decision and ordered

ballistics testing.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 65 of the Second Amended Complaint.

        66.     In late 2011, the ISP crime lab entered the casings and the Taurus into the

Integrated Ballistics Identification System (“IBIS”), an automated ballistics imaging and analysis

system run by the United States Bureau of Alcohol, Tobacco, Firearms, and Explosives, and used




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to track guns involved in crimes. The IBIS search did not match the casings from the Ascher

murder to the Taurus handgun.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 66 of the Second Amended Complaint.

       67.     Thereafter, an independent forensic scientist performed ballistic testing on the

Taurus and the bullets and casings from the Ascher murder. In 2012, the forensic scientist issued

a report concluding that neither the bullets nor the casings recovered from the crime scene and

the victim matched the Taurus handgun used to convict Plaintiff.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 67 of the Second Amended Complaint.

       68.     On March 23, 2017, the Illinois court granted Plaintiff’s motion for a new trial

based on the new ballistics evidence.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 68 of the Second Amended Complaint.

       69.     Plaintiff was released from prison on April 13, 2017, after twenty-three years.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 69 of the Second Amended Complaint.

       70.     The State tried plaintiff a second time for the murder of Andrew Ascher

beginning on January 10, 2019. Following a two-day bench trial, on January 15, 2019, the court

entered a judgment acquitting Plaintiff of all charges.

     ANSWER: Defendant Hanson admits the allegations in paragraph 70 of the Second
Amended Complaint.

                                        Plaintiff’s Damages

       71.     Plaintiff has suffered tremendous damage as a result of Defendants’ misconduct.

     ANSWER: Defendant Hanson denies the allegations in paragraph 71 of the Second
Amended Complaint.




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       72.     Most notably, he has been forced to endure longstanding and significant

emotional pain as a result of the false case against him. Plaintiff was separated from his family

for twenty-three years, during which he was denied the various pleasures of human experience,

from the most mundane to the most important. Plaintiff missed countless holidays, birthdays,

and “firsts” in his children’s lives. He lost the opportunity to mourn with family at funerals and

celebrate new life with friends and family. He was deprived of all the basic pleasures of human

experience, which all free people enjoy as a matter of right, including the freedom to live one’s

life as an autonomous human being.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny any
allegations in paragraph 72 of the Second Amended Complaint regarding any pain suffered or
endured by Plaintiff but, regardless, denies any such pain was caused or a result of any false case
against him or misconduct of the Defendants.

       73.     In addition, he has endured many physical struggles as a result of his long

confinement in Illinois’ dangerous prisons.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 73 of the Second Amended Complaint.

       74.     Plaintiff returned home to relationships changed or lost by decades away. He is

now attempting to make up for lost time in his personal and professional life and is working to

manage the staggering transition from life in prison to life in free society.

        ANSWER: Defendant Hanson has insufficient knowledge to either admit or deny the
allegations in paragraph 74 of the Second Amended Complaint.

                         Rockford’s Policies and Widespread Practices

       75.     The constitutional violations Plaintiff suffered are not isolated events. Rather,

they were a result of the RCPD’s policies and widespread practices of:

       a.    Pursuing convictions without regard to the truth;




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        b.    Failing to adequately train and supervise its police officers or other employees on

              their obligations to disclose exculpatory and impeachment evidence, and not to

              fabricate evidence;

        c.    Failing to discipline officers and other employees who withhold exculpatory or

              impeachment evidence, or who fabricate evidence; and

        d.    Failing to intervene to prevent individual officers and other employees from

              violating citizens’ constitutional rights.

     ANSWER: Defendant Hanson denies the allegations in paragraph 75 of the Second
Amended Complaint.

        76.     In accordance with these policies and widespread practices, RCPD officers

refused to report misconduct committed by their colleagues, including the misconduct at issue in

this case.

     ANSWER: Defendant Hanson denies the allegations in paragraph 76 of the Second
Amended Complaint.

        77.     This longstanding failure to train, supervise, and discipline officers and

employees effectively condones, ratifies, and sanctions the kind of misconduct that the

Defendant Officers committed against Plaintiff in this case. The City’s practices and policies

encouraged and facilitated constitutional violations like those that occurred in this case.

     ANSWER: Defendant Hanson denies the allegations in paragraph 77 of the Second
Amended Complaint.

        78.     The City of Rockford, including policymakers of the RCPD, failed to act to

remedy the abuses described in the preceding paragraphs, despite actual knowledge of the pattern

of misconduct. They thereby perpetuated the unlawful practices and ensured that no action

would be taken (independent of the judicial process) to remedy Plaintiff’s ongoing injuries.

     ANSWER: Defendant Hanson denies the allegations in paragraph 78 of the Second
Amended Complaint.

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       79.     City of Rockford policymakers condoned the policies and practices described

above and were deliberately indifferent to the violations of constitutional rights described herein.

     ANSWER: Defendant Hanson denies the allegations in paragraph 79 of the Second
Amended Complaint.

                                          COUNT I
         42 U.S.C. § 1983 – Violation of Fourteenth Amendment Due Process Rights

       80.     Plaintiff incorporates each paragraph of this pleading as if restated fully here.

       ANSWER: Defendant Hanson incorporates his answers to each paragraph of this
pleading as if restated fully here.

       81.     As described in detail above, the Defendant Officers and Defendant Forensic

Scientists, while acting individually, jointly, and/or in conspiracy with each other, deprived

Plaintiff of his constitutional right to a fair trial by withholding and suppressing exculpatory and

impeachment evidence and by fabricating evidence against Plaintiff.

     ANSWER: Defendant Hanson denies the allegations in paragraph 81 of the Second
Amended Complaint.

       82.     In the manner described more fully above, the Defendant Officers and Defendant

Forensic Scientists deliberately withheld exculpatory and impeachment evidence from Plaintiff

and from the prosecution, among others, thereby misleading and misdirecting the criminal

prosecution of Plaintiff.

     ANSWER: Defendant Hanson denies the allegations in paragraph 82 of the Second
Amended Complaint.

       83.     In addition, in the manner described more fully above, the Defendant Officers and

Defendant Forensic Scientists knowingly fabricated and solicited false evidence implicating

Plaintiff in the crime, and pursued and obtained Plaintiff’s conviction using that false evidence.

     ANSWER: Defendant Hanson denies the allegations in paragraph 83 of the Second
Amended Complaint.




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       84.     The Defendant Officers’ and Defendant Forensic Scientists’ misconduct denied

Plaintiff his constitutional right to a fair trial and directly resulted in his unjust criminal

conviction. Absent this misconduct, Plaintiff’s prosecution could not and would not have been

pursued.

     ANSWER: Defendant Hanson denies the allegations in paragraph 84 of the Second
Amended Complaint.

       85.     The misconduct described in this Court was objectively unreasonable and was

undertaken intentionally, with malice, with reckless indifference to the rights of others, and in

total disregard of the truth and Plaintiff’s clear innocence.

     ANSWER: Defendant Hanson denies the allegations in paragraph 85 of the Second
Amended Complaint.

       86.     As a result of the Defendant Officers’ and Defendant Forensic Scientists’

misconduct described in this Count, Plaintiff suffered damages as set forth above.

     ANSWER: Defendant Hanson denies the allegations in paragraph 86 of the Second
Amended Complaint.

       87.     The misconduct described in this Count was also undertaken pursuant to the

policies and practices of the RCPD described above.

     ANSWER: Defendant Hanson denies the allegations in paragraph 87 of the Second
Amended Complaint.

       88.     In this way, the City of Rockford also violated Plaintiff’s rights through the

actions of its agents by maintaining policies and practices that were a moving force driving the

foregoing constitutional violations.

     ANSWER: Defendant Hanson denies the allegations in paragraph 88 of the Second
Amended Complaint.

                                       COUNT II
       42 U.S.C. § 1983 – Unlawful Detention in Violation of the Fourth Amendment

       89.     Plaintiff incorporates each paragraph of this pleading as if fully restated here.

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       ANSWER: Defendant Hanson incorporates his answers to each paragraph of this
pleading as if restated fully here.

       90.     In the manner described more fully above, the Defendant Officers and Defendant

Forensic Scientists caused Plaintiff to be detained and imprisoned without probable cause.

     ANSWER: Defendant Hanson denies the allegations in paragraph 90 of the Second
Amended Complaint.

       91.     The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, with malice, and/or with reckless indifference to the rights of others.

     ANSWER: Defendant Hanson denies the allegations in paragraph 91 of the Second
Amended Complaint.

       92.     As a result of the Defendant Officers’ and Defendant Forensic Scientists’

misconduct described in this Count, Plaintiff suffered damages as set forth above.

     ANSWER: Defendant Hanson denies the allegations in paragraph 92 of the Second
Amended Complaint.

                                       COUNT III
              42 U.SC. § 1983 – Conspiracy to Deprive of Constitutional Rights

       93.     Plaintiff incorporates each paragraph of this pleading as if fully restated here.

       ANSWER: Defendant Hanson incorporates his answers to each paragraph of this
pleading as if restated fully here.

       94.     Each of the Defendant Officers and Defendant Forensic Scientists, acting in

concert with one or more co-conspirators, reached an agreement to deprive Plaintiff of his

constitutional rights, as described in the various paragraphs of this pleading.

     ANSWER: Defendant Hanson denies the allegations in paragraph 94 of the Second
Amended Complaint.

       95.     In so doing, these co-conspirators conspired to accomplish an unlawful purpose or

accomplish a lawful purpose by unlawful means. In addition, these co-conspirators agreed

among themselves to protect each other from liability or depriving Plaintiff of these rights.



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     ANSWER: Defendant Hanson denies the allegations in paragraph 95 of the Second
Amended Complaint.

       96.     In furtherance of their conspiracy, each of these co-conspirators committed an

overt act, and was otherwise a willful participant in joint activity.

     ANSWER: Defendant Hanson denies the allegations in paragraph 96 of the Second
Amended Complaint.

       97.     The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally with malice, willfulness, and reckless indifference to Plaintiff’s

constitutional rights and in total disregard of the truth and Plaintiff’s innocence.

     ANSWER: Defendant Hanson denies the allegations in paragraph 97 of the Second
Amended Complaint.

       98.     As a result of the Defendant Officers’ and Defendant Forensic Scientists’

misconduct described in this Count, Plaintiff suffered damages as set forth above.

     ANSWER: Defendant Hanson denies the allegations in paragraph 98 of the Second
Amended Complaint.

       99.     The misconduct described in this Count was also undertaken pursuant to the

policies and practices of the RCPD in the manner described more fully above. In this way, the

City of Rockford also violated Plaintiff’s rights through the actions of its agents by maintaining

policies and practices that were a moving force driving the foregoing constitutional violations.

     ANSWER: Defendant Hanson denies the allegations in paragraph 99 of the Second
Amended Complaint.

                                           COUNT IV
                             42 U.S.C. § 1983 – Failure to Intervene

       100.    Plaintiff incorporates each paragraph of this pleading as if fully restated here.

       ANSWER: Defendant Hanson incorporates his answers to each paragraph of this
pleading as if restated fully here.




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        101.    In the manner described above, during the constitutional violations described

herein, one or more of the Defendant Officers and Defendant Forensic Scientists stood by

without intervening to prevent the violation of Plaintiff’s constitutional rights, even though they

had the opportunity to do so.

     ANSWER: Defendant Hanson denies the allegations in paragraph 101 of the Second
Amended Complaint.

        102.    The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally with malice, willfulness, and reckless indifference to Plaintiff’s

constitutional rights.

     ANSWER: Defendant Hanson denies the allegations in paragraph 102 of the Second
Amended Complaint.

        103.    The misconduct described in this Count was undertaken pursuant to the custom,

policy, and/or practice of Defendant City of Rockford, as described above, such that Defendant

City of Rockford is also liable.

     ANSWER: Defendant Hanson denies the allegations in paragraph 103 of the Second
Amended Complaint.

        104.    As a result of Defendant Officers’ and the Defendant Forensic Scientists’

misconduct described in this Count, undertaken pursuant to the City’s policy and practice as

described above, Plaintiff suffered damages as set forth above.

     ANSWER: Defendant Hanson denies the allegations in paragraph 104 of the Second
Amended Complaint.

                                          COUNT V
                            State Law Claim – Malicious Prosecution

        105.    Plaintiff incorporates each paragraph of this pleading as if fully restated here.

       ANSWER: Defendant Hanson incorporates his answers to each paragraph of this
pleading as if restated fully here.




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         106.   In the manner described more fully above, the Defendant Officers and Defendant

Forensic Scientists, individually, jointly, and/or in conspiracy with each other, pursuant to City

policies and widespread practices, accused Plaintiff of criminal activity and exerted influence to

initiate and to continue and perpetuate judicial proceedings against Plaintiff without any probable

cause.

     ANSWER: Defendant Hanson denies the allegations in paragraph 106 of the Second
Amended Complaint.

         107.   In so doing, Defendants caused Plaintiff to be improperly subjected to judicial

proceedings for which there was no probable cause. These judicial proceedings were instituted

and continued maliciously, resulting in injury.

     ANSWER: Defendant Hanson denies the allegations in paragraph 107 of the Second
Amended Complaint.

         108.   All such proceedings were ultimately terminated in Plaintiff’s favor in a manner

indicative of his innocence.

     ANSWER: Defendant Hanson denies the allegations in paragraph 108 of the Second
Amended Complaint.

         109.   The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, with malice, with reckless indifference to the rights of others, and in

total disregard of the truth and Plaintiff’s clear innocence.

     ANSWER: Defendant Hanson denies the allegations in paragraph 109 of the Second
Amended Complaint.

         110.   As a result of Defendants’ misconduct described in this Count, Plaintiff suffered

damages as set forth above.

     ANSWER: Defendant Hanson denies the allegations in paragraph 110 of the Second
Amended Complaint.




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       111.    The Defendant Officers’ and Defendant Forensic Scientists’ misconduct described

in this Count was undertaken within the scope of their employment such that their employer, the

RCPD, is liable for their actions.

     ANSWER: Defendant Hanson denies the allegations in paragraph 111 of the Second
Amended Complaint.

                                        COUNT VI
                State Law Claim – Intentional Infliction of Emotional Distress

       112.    Plaintiff incorporates each paragraph of this pleading as if fully restated here.

       ANSWER: Defendant Hanson incorporates his answers to each paragraph of this
pleading as if restated fully here.

       113.    The actions, omissions, and conduct of the Defendant Officers and Defendant

Forensic Examiners as set forth above, were extreme and outrageous.

     ANSWER: Defendant Hanson denies the allegations in paragraph 113 of the Second
Amended Complaint.

       114.    The Defendant Officers’ and Defendant Forensic Scientists’ actions set forth

above were rooted in an abuse of power or authority.

     ANSWER: Defendant Hanson denies the allegations in paragraph 114 of the Second
Amended Complaint.

       115.    The Defendant Officers’ and Defendant Forensic Scientists’ actions set forth

above were undertaken with intent or knowledge that there was a high probability that the

conduct would inflict severe emotional distress and with reckless disregard of that probability.

     ANSWER: Defendant Hanson denies the allegations in paragraph 115 of the Second
Amended Complaint.

       116.    The Defendant Officers’ and Defendant Forensic Scientists’ actions set forth

above were undertaken with malice, willfulness, and reckless indifference to the rights of others.

     ANSWER: Defendant Hanson denies the allegations in paragraph 116 of the Second
Amended Complaint.



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       117.    As a direct and proximate result of the misconduct described in this Count,

Plaintiff suffered injuries, including severe emotional distress and ongoing paint.

     ANSWER: Defendant Hanson denies the allegations in paragraph 117 of the Second
Amended Complaint.

       118.    The Defendant Officers’ misconduct described in this Count was undertaken

within the scope of their employment such that their employer, the RCPD, is liable for their

actions.

     ANSWER: Defendant Hanson denies the allegations in paragraph 118 of the Second
Amended Complaint.

                                          COUNT VII
                               State Law Claim – Civil Conspiracy

       119.    Plaintiff incorporates each paragraph of this pleading as if fully restated here.

       ANSWER: Defendant Hanson incorporates his answers to each paragraph of this
pleading as if restated fully here.

       120.    As described more fully in the preceding paragraphs, the Defendant Officers and

Defendant Forensic Scientists reached an agreement among themselves to frame Plaintiff for a

crime he did not commit and conspired by concerted action to accomplish an unlawful purpose

or achieve a lawful purpose by unlawful means. In addition, these co-conspirators agreed among

themselves to protect each other from liability for depriving Plaintiff of these rights.

     ANSWER: Defendant Hanson denies the allegations in paragraph 120 of the Second
Amended Complaint.

       121.    In furtherance of their conspiracy, each of these co-conspirators committed overt

acts and were otherwise willful participants in joint activity.

     ANSWER: Defendant Hanson denies the allegations in paragraph 121 of the Second
Amended Complaint.

       122.    In furtherance of the conspiracy, one or more of the co-conspirators committed an

overt act, and each was a willful participant in joint activity.

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     ANSWER: Defendant Hanson denies the allegations in paragraph 122 of the Second
Amended Complaint.

          123.   The Defendant Officers’ and Defendant Forensic Scientists’ actions described in

this Count were undertaken intentionally, with malice and reckless indifference to Plaintiff’s

rights.

     ANSWER: Defendant Hanson denies the allegations in paragraph 123 of the Second
Amended Complaint.

          124.   As a result of the Defendant Officers’ and Defendant Forensic Scientists’

misconduct described in this Count, Plaintiff suffered damages as set forth above.

     ANSWER: Defendant Hanson denies the allegations in paragraph 124 of the Second
Amended Complaint.

                                          COUNT VIII
                              State Law Claim – Respondeat Superior

          125.   Plaintiff incorporates each paragraph of this pleading as if fully restated here.

       ANSWER: Defendant Hanson incorporates his answers to each paragraph of this
pleading as if restated fully here.

          126.   While committing misconduct alleged in the preceding paragraphs, the Defendant

Officers were employees, members, and agents of the City of Rockford acting at all relevant

times within the scope of their employment.

     ANSWER: Defendant Hanson denies the allegations in paragraph 126 of the Second
Amended Complaint, inasmuch as the misconduct alleged did not occur.

          127.   Defendant City of Rockford is liable as principal for all state law torts committed

by its agents.

       ANSWER: Defendant Hanson denies there were any state law torts committed by
agents of the City of Rockford as alleged in this Second Amended Complaint, and so the
Defendant City of Rockford is not liable as a principal for any such torts.




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                                        COUNT IX
               State Law Claim – Indemnification Pursuant to 745 ILCS 10/9-102

        128.    Plaintiff incorporates each paragraph of this pleading as if fully restated here.

       ANSWER: Defendant Hanson incorporates his answers to each paragraph of this
pleading as if restated fully here.

        129.    Illinois law provides that public entities are directed to pay any tort judgment for

compensatory damages for which employees are liable within the scope of their employment

activities.

        ANSWER: Defendant Hanson admits that Illinois law so provides, but denies that
there is any basis for such liability in this case.

        130.    The Defendant Officers are or were employees, members, and agents of the City

of Rockford and the ISP who acted within the scope of their employment in committing the

misconduct described herein.

      ANSWER: Defendant Hanson denies any and all of the misconduct alleged in this
Second Amended Complaint.

        131.    The City of Rockford is responsible to pay any judgment entered against the

Defendant Officers. Plaintiff therefore demands judgment against Defendant City of Rockford

in the amount awarded to Plaintiff against each of the individual Defendants as damages,

attorneys’ fees, costs, and interest.

        ANSWER: Defendant Hanson denies that there is any basis for entry of judgment
against him or the other Defendants in this case.

                                   AFFIRMATIVE DEFENSES

        GREG HANSON, one of the Defendants in the above-captioned matter, by and through

his attorney, Michael F. Iasparro of Hinshaw & Culbertson LLP, for his Affirmative Defenses to

Plaintiff’s Second Amended Complaint, states as follows:




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                            First Affirmative Defense: Qualified Immunity

       The actions of Defendant GREG HANSON were undertaken in his capacity as a police

officer and were further subjectively and objectively reasonable based upon the totality of the

circumstances and did not violate any of Plaintiff’s clearly established constitutional rights.

             Second Affirmative Defense: Immunity Under Illinois Tort Immunity Act

       The actions of Defendant GREG HANSON were undertaken in his capacity as a police

officer and further fall within the protections afforded by qualified immunity and statutory

immunity under the Illinois Governmental and Governmental Employees Tort Immunity Act,

745 ILCS 10/1-101 et seq.

                         Third Affirmative Defense: Public Official Immunity

       The actions of Defendant GREG HANSON were undertaken in his capacity as a police

officer and further fall within the protections afforded by qualified immunity inasmuch as all of

his actions were undertaken as a police officer acting within the scope of his discretion in

investigating a criminal offense and making an arrest for a criminal offense.

                             Fourth Affirmative Defense: Probable Cause

       The actions of Defendant GREG HANSON were undertaken in his capacity as a police

officer and further fall within the protections afforded by qualified immunity inasmuch as all of

his actions were undertaken with the reasonable belief that the Plaintiff had committed a criminal

offense.

                     Fifth Affirmative Defense: Absolute Testimonial Immunity

       Defendant GREG HANSON is entitled to absolute immunity for testifying in court

proceedings, including proceedings related to the Ascher murder. See, e.g., Briscoe v. LaHue,

460 U.S. 325 (1983).




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                           Sixth Affirmative Defense: Statute of Limitations

       Plaintiff’s claims are untimely and barred by the applicable statutes of limitations.

                    Seventh Affirmative Defense: Collateral Estoppel/Res Judicata

       Plaintiff’s claims are barred by the doctrine(s) of collateral estoppel and/or res judicata

because he had a full and fair opportunity in his underlying criminal proceedings to litigate the

same issues and/or claims raised in the Second Amended Complaint.

                     Eighth Affirmative Defense: Intervening/Superseding Cause

       The causal chain between any of Defendant GREG HANSON’S actions and Plaintiff’s

conviction and/or imprisonment was broken by one or more intervening/superseding exercise(s)

of independent judgment by another, including but not limited to Plaintiff, prosecutors, Illinois

State Police personnel, witnesses, judges, and/or jurors.

                            Ninth Affirmative Defense: Comparative Fault

       To the extent that any injuries or damages of the Plaintiff were proximately caused, in

whole or in part, by negligent, willful, wanton and/or other wrongful conduct on the part of

Plaintiff, any verdict or judgment obtained by Plaintiff must be reduced by an amount

commensurate with the degree of fault attributed to Plaintiff by the trier of fact in this case.

                       Tenth Affirmative Defense: Failure to Mitigate Damages

       To the extent Plaintiff failed to mitigate any of his claimed injuries or damages, any

verdict or judgment obtained by Plaintiff must be reduced by application of the principal that a

Plaintiff must mitigate his damages.

       WHEREFORE, Defendant GREG HANSON respectfully requests that this Court enter

judgment in his favor and against Plaintiff, award costs, and for such other and further relief as

this Court deems just and proper.




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                            Respectfully submitted,

                            HINSHAW & CULBERTSON LLP


                            /s/ Michael F. Iasparro
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                         AFFIDAVIT OF FILING AND SERVICE

       The undersigned certifies that on October 21, 2019, a copy of the Defendant Greg

Hanson’s Answer and Affirmative Defenses to Second Amended Complaint was

electronically filed and served via the U.S. District Court CM/ECF E-Filing System upon the

following:

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